Case 21-30589-MBK         Doc 1958     Filed 04/04/22 Entered 04/04/22 17:03:41              Desc Main
                                     Document      Page 1 of 8



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

Jeffrey Traurig
TRAURIG LAW LLC                                         Robert J. Keach, Esq. (pro hac vice pending)
One University Plaza, Suite 124                         BERNSTEIN SHUR SAWYER & NELSON, P.A.
Hackensack, NJ 07601                                    100 Middle Street
Tel: (646) 974-8650                                     Portland, ME 04104
E-mail: jtraurig@trauriglaw.com                         Tel: (207) 774-1200
Proposed Local Counsel to the Fee Examiner              Fax: (207) 774-1127
                                                        E-Mail: rkeach@bernsteinshur.com
                                                        Fee Examiner

                                                        BERNSTEIN SHUR SAWYER & NELSON, P.A.
                                                        Letson Douglass Boots, Esq. (pro hac vice
                                                        pending)
                                                        100 Middle Street
                                                        Portland, ME 04104
                                                        Tel: (207) 774-1200
                                                        Fax: (207) 774-1127
                                                        E-Mail: lboots@bernsteinshur.com
                                                        Proposed Counsel to the Fee Examiner




In Re:                                                    Case No.:     21-30589 (MBK)

LTL MANAGEMENT LLC,                                       Judge:        Michael B. Kaplan

                      Debtor                              Chapter 11

                                   CERTIFICATION OF SERVICE

    1. I, Karla M. Quirk:

                   represent                 in this matter.

                X I am the secretary/paralegal for Bernstein, Shur, Sawyer & Nelson, P.A., who
                  represents the Fee Examiner in this matter.

                   am the                         in this case and am representing myself.
Case 21-30589-MBK        Doc 1958     Filed 04/04/22 Entered 04/04/22 17:03:41                  Desc Main
                                    Document      Page 2 of 8



   2. Between the period of April 1, 2022 and April 4, 2022, I sent a copy of the following pleadings
      and/or documents to the parties listed in the chart below.

        DE 1933 Application for Retention of Traurig Law LLC as Counsel to the Fee Examiner
        DE 1935 Application for Retention of Bernstein, Shur, Sawyer & Nelson, P.A. as
                Counsel to the Fee Examiner
        DE 1936 Application for Order for Admission Pro Hac Vice of Robert J. Keach, Esq.
        DE 1937 Application for Order for Admission Pro Hac Vice of Letson Douglass Boots, Esq.
        DE 1938 Application for Order for Admission Pro Hac Vice of Lindsay Z. Milne, Esq.
        DE 1940 Notice of Appearance

   3. I certify under penalty of perjury that the above documents were sent using the mode of service
      indicated.

   Date: April 4, 2022                               /s/ Karla M. Quirk
                                                     Karla M. Quirk, Paralegal

  Name and Address of Party Served        Relationship of Party to             Mode of Service
                                                 the Case
                                                                        Hand-delivered
 See Attached Exhibit A                                                 Regular Mail
                                                                        Certified mail/RR
                                                                      X Other email
                                                                           (As authorized by the Court or by rule.
                                                                       Cite the rule if applicable)




                                                 2
  Case 21-30589-MBK                Doc 1958     Filed 04/04/22 Entered 04/04/22 17:03:41                      Desc Main
                                              Document      Page 3 of 8

                                                          Exhibit A
Debtor's Professionals                    Role                                           Email
AlixPartners                              Financial Advisor                              jcastellano@alixpartners.com
                                                                                         reisenberg@alixpartners.com
Bates White LLC                           Talc Consultants                               Scott.lobel@bateswhite.com
Blake Cassels & Graydon LLP               Special Counsel                                linc.rogers@blakes.com
Epiq Corporate Restructuring LLC          Claims Agent                                   btuttle@epicglobal.com
Jones Day                                 Counsel to the Debtor                          gmgordon@jonesday.com
                                                                                         bberens@jonesday.com
                                                                                         dbprieto@jonesday.com
                                                                                         asrush@jonesday.com
King & Spalding LLP                       Special Counsel                                kfournier@kslaw.com
McCarter & English LLP                    Special Insurance Counsel                      tladd@mccarter.com
                                                                                         bkahn@mccarter.com
Orrick Herrington & Sutcliffe LLP         Special Talc Litigation Appellate Counsel      rloeb@orrick.com
Rayburn Cooper & Durham P.A.              Co-Counsel                                     jmiller@rcdlaw.net
Shook Hardy & Bacon LLP                   Special Counsel                                kfrazier@shb.com
Skadden Arps Slate Meager & Flom LLP      Special Counsel                                allison.brown@skadden.com
Weil Gotshal & Manges LLP                 Special Counsel                                gary.holtzer@weil.com
                                                                                         diane.sullivan@weil.com
                                                                                         ronit.berkovich@weil.com
                                                                                         theodore.tsekerides@weil.com
Wollmuth Maher & Deutsch, LLP             Counsel to the Debtor                          pdefilippo@wmd-law.com
                                                                                         jlawlor@wmd-law.com
                                                                                         ltretter@wmd-law.com
                                                                                         jpacelli@wmd-law.com
Official Committee of Talc Claimants I    Role                                           Email
Brown Rudnick LLP                         Co-Counsel                                     dmolton@brownrudnick.com
                                                                                         rstark@brownrudnick.com
                                                                                         jjonas@brownrudnick.com
                                                                                         mwinograd@brownrudnick.com
                                                                                         sbeville@brownrudnick.com
Genova Burns LLC                          Local Counsel                                  dstolz@genovaburns.com
                                                                                         dclarke@genovaburns.com
                                                                                         mbaker@genovaburns.com
Gilbert LLP                               Special Insurance Counsel                      quinnk@gilbertlegal.com
Houlihan Lokey Capital Inc.               Investment Banker to Official Committee of Talcsburian@hl.com
                                                                                           Claimants I
Miller Thomson LLP                        Special Canadian Counsel                       jcarhart@millerthomson.com
Monzack Mersky and Browder P.A.           Special Delaware Counsel                       rmersky@monlaw.com
Otterbourg P.C.                           Co- Counsel to Official Committee of Talc Claimants
                                                                                         mcyganowski@otterbourg.com
                                                                                         asilverstein@otterbourg.com
                                                                                         jfeeney@otterbourg.com
Parkins Lee & Rubio LLP                   Special Bankruptcy Counsel                     lparkins@parkinslee.com
                                                                                         crubio@parkinslee.com
The Brattle Group, Inc.                   Talc Consultants                               Yvette.austinsmith@brattle.com
Official Committee of Talc Claimants II   Role                                           Email
Bailey Glasser LLP                        Co-Counsel                                     bglasser@baileyglasser.com
                                                                                         tbennett@baileyglasser.com
                                                                                         kbarrett@baileyglasser.com
                                                                                         mburris@baileyglasser.com
Cooley LLP                                Co-Counsel                                     cspeckhart@cooley.com
                                                                                         mklein@cooley.com
                                                                                         erichards@cooley.com
                                                                                         lreichardt@cooley.com
                                                                                         elazerowitz@cooley.com
  Case 21-30589-MBK              Doc 1958        Filed 04/04/22 Entered 04/04/22 17:03:41             Desc Main
                                               Document      Page 4 of 8

Ducera Partners LLC                        Investment Banker                      averost@ducerapartners.com
FTI Consulting, Inc.                       Financial Advisor                      conor.tully@fticonsulting.com
Massey & Gail LLP                          Co-Counsel                             jmassey@masseygail.com
                                                                                  rmorse@masseygail.com
Sherman Silverstein Kohl Rose & Podolsky, P.A.
                                            Local Counsel                         aabramowitz@shermansilverstein.com
                                                                                  amoldoff@shermansilverstein.com
                                                                                  rswitkes@shermansilverstein.com
Waldrep Wall Babcock & Bailey PLLC         Co-Counsel                             twaldrep@waldrepwall.com
                                                                                  ksink@waldrepwall.com
                                                                                  jlanik@waldrepwall.com
                                                                                  jlyday@waldrepwall.com
Future Talc Claimants Representative       Role                                   Email
Randi S. Ellis                             Future Talc Claimants Representative   Randi@RandiEllis.com
Walsh Pizzi O’Reilly Falanga LLP           Counsel to Randi Ellis                 mfalk@walsh.law
 Case 21-30589-MBK              Doc 1958       Filed 04/04/22 Entered 04/04/22 17:03:41            Desc Main
                                             Document      Page 5 of 8

Epiq's Master Service List (as of 03/31/2022 06:00:33)
                            NAME                                               EMAIL
ARNOLD & ITKIN LLP                                       CBOATRIGHT@ARNOLDITKIN.COM;
                                                         CHRISTENSEN@ARNOLDITKIN.COM;
                                                         JITKIN@ARNOLDITKIN.COM
ASHCRAFT & GEREL, LLP                                    jgreen@ashcraftlaw.com; plyons@ashcratlaw.com;
                                                         mparfitt@ashcraftlaw.com

AYLSTOCK WITKIN KREIS &                                  MARYBETH@PUTNICKLEGAL.COM;
                                                         DTHORNBURGH@AWKOLAW.COM
BALLARD SPAHR LLP                                        daluzt@ballardspahr.com;
                                                         heilmanl@ballrdspahr.com;
                                                         roglenl@ballardspahr.com
BARNES FIRM                                              JOE.VAZQUEZ@THEBARNESFIRM.COM
BEASLEY ALLEN LAW FIRM                                   CHARLIE.STERN@BEASLEYALLEN.COM;
                                                         LEIGH.ODELL@BEASLEYALLEN.COM
BLANCO TACKABERY & MATAMOROS, P.A.                       asr@blancolaw.com
BURNS CHAREST LLP                                        dcharest@burnscharest.com
CELLINO LAW LLP                                          BRIAN.GOLDSTEIN@CELLINOLAW.COM
CLYDE & CO US LLP                                        konrad.krebs@clydeco.us
CLYDE AND CO US LLP                                      clinton.cameron@clydeco.us;
                                                         meghan.dalton@clydeco.us
COHEN, PLACITELLA & ROTH, P.C.                           DGEIER@CPRLAW.COM;
                                                         CPLACITELLA@CPRLAW.COM
COHEN, PLACITELLA & ROTH, P.C.                           JMPLACITELLA@CPRLAW.COM
COLE SCHOTZ P.C.                                         fyudkin@coleschotz.com
COLE SCHOTZ P.C.                                         mtsukerman@coleschotz.com
CORDES LAW, PLLC                                         stacy@cordes-law.com; meghan@cordes-law.com

CROWELL & MORING LLP                                     gplotko@crowell.com
CROWELL & MORING LLP                                     mplevin@crowell.com; kcacabelos@crowell.com

CROWELL & MORING LLP                                     tyoon@crowell.com; rjankowski@crowell.com
DALIMONTE RUEB STOLLER, LLP                              JOHN@DRLAWLL.COM; GREG@DRLAWLLP.COM
DAVID CHRISTIAN ATTORNEYS LLC                            dchristian@dca.law
DEAN OMAR BRANHAM SHIRLEY, LLC                           JDEAN@DOBSLEGAL.COM;
                                                         TBRANHAM@DOBSLEGAL.COM;
                                                         BSMITH@DOBSLEGAL.COM
DLA PIPER LLP (US)                                       aidan.mccormack@dlapiper.com;
                                                         brian.seibert@dlapiper.com
DRISCOLL FIRM, LLC                                       6182770962@fax.bssn.com
DUANE MORRIS LLP                                         prmatthews@duanemorris.com
DUANE MORRIS LLP                                         slross@duanemorris.com
EAMONN O'HAGAN, ESQ                                      eamonn.ohagan@usdoj.gov
EMMET, MARVIN & MARTIN LLP                               tpitta@emmetmarvin.com
FEARS NACHAWATI LAW FIRM                                 DMCDOWELL@FNLAWFIRM.COM
FERRARO LAW FIRM                                         LBR@FERRAROLAW.COM; JLB@FERRAROLAW.COM

FISHERBROYLES                                            deborah.fletcher@fisherbroyles.com
FLINT LAW FIRM LLC                                       EFLINT@FLINTLAW.COM
 Case 21-30589-MBK           Doc 1958     Filed 04/04/22 Entered 04/04/22 17:03:41             Desc Main
                                        Document      Page 6 of 8

GIMIGLIANO MAURIELLO & MALONEY                     sgimigliano@lawgmm.com;
                                                   jmaloney@lawgmm.com; rrabinowitz@lawgmm.com

GOLOMB SPIRIT GRUNFELD, PC                         KGRUNFELD@GOLOMBHONIK.COM;
                                                   RGOLOMB@GOLOMBHONIK.COM;
                                                   ASPIRT@GOLOMBHONIK.COM;
                                                   KGOLOMB@GOLOMBLEGAL.COM
GREENBAUM, ROWE, SMITH & DAVIS LLP                 nisaacson@greenbaumlaw.com
GREENBERG TRAURIG, LLP                             brodya@tlaw.com
HALPERIN BATTAGLIA BENZIJA LLP                     ahalperin@halperinlaw.net;
                                                   dlieberman@halperinlaw.net
HERRICK FEINSTEIN LLP                              rginzburg@herrick.com; ssmith@herrick.com
HILL HILL CARTER FRANCO COLE &                     ecarter@hillhillcarter.com
HONIK LLC                                          RUBEN@HONIKLAW.COM; DAVID@HONIKLAW.COM

HUGHES HUBBARD & REED LLP                          CHRIS.KIPLOK@HUGHESHUBBARD.COM;
                                                   WILLIAM.BEAUSOLEIL@HUGHESHUBBARD.COM;
                                                   ERIN.DIERS@HUGHESHUBBARD.COM
J.C. WHITE LAW GROUP PLLC                          jwhite@jcwhitelaw.com
JD THOMPSON LAW                                    jdt@jdthompsonlaw.com
KARST & VON OISTE LLP                              EPK@KARSTVONOISTE.COM
KARST & VON OISTE, LLP                             dac@karstvonoiste.com
KASOWITZ BENSON TORRES LLP                         drosner@kasowitz.com; rnovick@kasowitz.com;
                                                   agolden@kasowitz.com

KASOWITZ BENSON TORRES LLP                         mhutchins@kasowitz.com
KATTEN MUCHIN ROSENMAN LLP                         shaya.rochester@katten.com
KATTEN MUCHIN ROSENMAN LLP                         kelsey.panizzolo@katten.com
KAZAN MCCLAIN SATTERLY &                           JSATTERLEY@KAZANLAW.COM
KENNEDYS CMK LLP                                   heather.simpson@kennedyslaw.com
KIESEL LAW, LLP                                    ZUKIN@KIESEL.LAW; KIESEL@KIESEL.LAW;
                                                   PALMER@KIESEL.LAW
KLEHR HARRISON HARVEY BRANZBURG LLP                cslocum@klehr.com; mbranzburg@klehr.com
KTBS LAW LLP                                       nmaoz@ktbslaw.com; skidder@ktbslaw.com;
                                                   rpfister@ktbslaw.com; mtuchin@ktbslaw.com
LANIER LAW FIRM                                    MICHAEL.AKSELRUD@LANIERLAWFIRM.COM
LATHAM & WATKINS LLP                               jeff.bjork@lw.com; kim.posin@lw.com;
                                                   amy.quartarolo@lw.com
LATHAM & WATKINS LLP                               adam.ravin@lw.com
LAW FIRM OF BRIAN W HOFMEISTER, LLC                bwh@hofmeisterfirm.com
LAW OFFICES OF MITCHELL J. MALZBERG, LLC           mmalzberg@mjmalzberglaw.com
LAW OFFICES OF R. KEITH JOHNSON, P.A.              7048274477@fax.bssn.com
LEVIN PAPANTONIO RAFFERTY                          ctisi@levinlaw.com
LEVY KONIGSBERG LLP                                MMAIMON@LEVYLAW.COM
LEVY KONIGSBERG LLP                                JBLOCK@LEVYLAW.COM
LEX NOVA LAW LLC                                   rdressel@lexnovalaw.com
LEX NOVA LAW LLC                                   rdressel@lexnovalaw.com
LITE DEPALMA GREENBERG & AFANADOR, LLC             aunderwood@litedepalma.com
LOWENSTEIN SANDLER LLP                             krosen@lowenstein.com;
                                                   mseymour@lowenstein.com
LTL MANAGEMENT LLC                                 jkim2@its.jnj.com
MANIER & HEROD, P.C.                               rmiller@manierherod.com
 Case 21-30589-MBK          Doc 1958     Filed 04/04/22 Entered 04/04/22 17:03:41            Desc Main
                                       Document      Page 7 of 8

MARSHACK HAYS LLP                                 lmasud@marshackhays.com
MAUNE RAICHLE HARTLEY FRENCH &                    BFRENCH@MRHFMLAW.COM
MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC           sratcliffe@mrhfmlaw.com
MCMANIMON, SCOTLAND & BAUMANN, LLC                asodono@msbnj.com;
                                                  splacona@msbnj.com
MENDES & MOUNT LLP                                eileen.mccabe@mendes.com;
                                                  stephen.roberts@mendes.com
MILLER FIRM, LLC                                  CHOKE@MILLERFIRMLLC.COM
MOON WRIGHT & HOUSTON, PLLC                       rwright@mwhattorneys.com;
                                                  ahouston@mwhattorneys.com;
                                                  cbrown@mwhattorneys.com
MOORE & VAN ALLEN PLLC                            hillarycrabtree@mvalaw.com
MORITT HOCK & HAMROFF LLP                         lberkoff@moritthock.com;
                                                  aarotsky@moritthock.com
MOTLEY RICE LLC                                   JHURST@MOTLEYRICE.COM
MOTLEY RICE LLC                                   CSCOTT@MOTLEYRICE.COM
MOTLEY RICE LLC                                   dlapinski@motleyrice.com
NAPOLI SHKOLNIK PLLC                              CLoPalo@napolilaw.com
NORTHERN BLUE, LLP                                jan@nbfirm.com
NORTHERN BLUE, LLP                                jpc@nbfirm.com; vlp@nbfirm.com
NORTHERN BLUE, LLP                                jan@nbfirm.com; vlp@nbfirm.com; jpc@nbfirm.com

OFFICE OF THE ATTORNEY GENERAL OF TEXAS           rachel.obaldo@oag.texas.gov;
                                                  autumn.highsmith@oag.texas.gov
OFFICE OF THE US TRUSTEE                          lauren.bielskie@usdoj.gov;
                                                  jeffrey.m.sponder@usdoj.gov;
                                                  Mitchell.B.Hausman@usdoj.gov;
OFFIT KURMAN, P.A.                                paul.baynard@offitkurman.com
OFFIT KURMAN, P.A.                                pwinterhalter@offitkurman.com
ONDERLAW, LLC                                     ONDER@ONDERLAW.COM
PACHULSKI STANG ZIEHL & JONES LLP                 ljones@pszjlaw.com;
                                                  kdine@pszjlaw.com;
                                                  crobinson@pszjlaw.com;
                                                  pkeane@pszjlaw.com
PARKER POE ADAMS & BERNSTEIN LLP                  ashleyedwards@parkerpoe.com
PENSION BENEFIT GUARANTY CORPORATION              lachman.carolyn@pbgc.gov; efile@pbgc.gov
PENSION BENEFIT GUARANTY CORPORATION              torres.simon@pbgc.gov; efile@pbgc.gov
PORZIO, BROMBERG & NEWMAN, P.C.                   raparisi@pbnlaw.com;
                                                  kdcurtin@pbnlaw.com
PRYOR CASHMAN LLP                                 slieberman@pryorcashman.com;
                                                  arichmond@pryorcashman.com
RABINOWITZ, LUBETKIN & TULLY, LLC                 jrabinowitz@rltlawfirm.com
RAWLINGS & ASSOCIATES                             mdf@rawlingsandassociates.com;
                                                  rgl@rawlingsandassociates.com
RAYBURN COOPER & DURHAM, P.A.                     rrayburn@rcdlaw.net; jmiller@rcdlaw.net;
                                                  mtomsic@rcdlaw.net
REED SMITH LLP                                    psinger@reedsmith.com
REED SMITH LLP                                    jangelo@reedsmith.com
REED SMITH LLP                                    dbaker@reedsmith.com;
ROBINSON, CALCAGNIE, ROBINSON,                    9497201292@fax.bssn.com
ROSS FELLER CASEY, LLP                            bmccormick@rossfellercasey.com
 Case 21-30589-MBK           Doc 1958     Filed 04/04/22 Entered 04/04/22 17:03:41           Desc Main
                                        Document      Page 8 of 8

RUGGERI PARKS WEINBERG LLP                         jweinberg@ruggerilaw.com;
                                                   jmayer@ruggerilaw.com
SAIBER LLC                                         jaugust@saiber.com;
                                                   mwolin@saiber.com
SAVO, SCHALK, GILLESPIE, O'GRODNICK                schalk@centraljerseylaw.com;
                                                   brokaw@centraljerseylaw.com
SIMMONS HANLY CONROY LLC                           JKRAMER@SIMMONSFIRM.COM
SIMON GREENSTONE PANATIERE                         CPANATIER@SGPBLAW.COM
SIMPSON THACHER & BARTLETT LLP                     squsba@stblaw.com; cwaldman@stblaw.com;
                                                   jamie.fell@stblaw.com;
                                                   zachary.weiner@stblaw.com;
SIMPSON THACHER & BARTLETT LLP                     michael.torkin@stblaw.com; afrankel@stblaw.com;
                                                   kmclendon@stblaw.com;

SIMPSON THACHER & BARTLETT LLP                     afrankel@stblaw.com
STEVENS & LEE, P.C.                                andreas.milliaressis@stevenslee.com
STEVENS & LEE, P.C.                                joseph.huston@stevenslee.com
THE GORI LAW FIRM                                  BETH@GORIJULIANLAW.COM;
                                                   SARA@GORIJULIANLAW.COM;
                                                   TODD@GORIJULIANLAW.COM
THE HENDERSON LAW FIRM, PLLC                       henderson@title11.com
THE KELLY FIRM, P.C.                               akelly@kbtlaw.com
THE LAYTON LAW FIRM, PLLC                          chris@thelaytonlawfirm.com
THE SHAPIRO LAW FIRM                               jshapiro@shapirolawfirm.com
TOGUT, SEGAL & SEGAL LLP                           altogut@teamtogut.com;
                                                   frankoswald@teamtogut.com;
                                                   bshaughnessy@teamtogut.com
TRAMMELL PC                                        FLETCH@TRAMMELLPC.COM
TRIF & MODUGNO LLC                                 lmodugno@tm-firm.com
US DEPARTMENT OF JUSTICE                           john.z.balasko@usdoj.gov
VINSON & ELKINS LLP                                sabramowitz@velaw.com
WALLACE & GRAHAM PA                                bgraham@wallacegraham.com
WARD AND SMITH, P.A.                               paf@wardandsmith.com;
                                                   njl@wardandsmith.com
WEITZ & LUXENBERG, P.C.                            ERELKIN@WEITZLUX.COM
WEITZ & LUXENBERG, P.C.                            DKRAFTJR@WEITZLUX.COM;
                                                   JDELANEY@WEITZLUX.COM;
                                                   LBUSCH@WEITZLUX.COM
WHITE & CASE LLP                                   JESSICA.LAURIA@WHITECASE.COM;
                                                   GKURTZ@WHITECASE.COM;
                                                   RICARDO.PASIANOTTO@WHITECASE.COM
WHITE & CASE LLP                                   mshepherd@whitecase.com;
                                                   laura.femino@whitecase.com
WHITE & CASE LLP                                   blair.warner@whitecase.com
WILLIAMS HART LAW FIRM                             7136436226@fax.bssn.com
WINDELS MARX LANE & MITTENDORF LLP                 acraig@windelsmarx.com;
                                                   scalogero@windelsmarx.com
WOMBLE BOND DICKINSON (US) LLP                     matthew.ward@wbd-us.com; ericka.johnson@wbd-
                                                   us.com
ZELLE LLP                                          acogbill@zelle.com
